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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
UNITED STATES OF AMERICA,                      )
                                               )
              v.                               )
                                               )
MARIIA BUTINA, a/k/a,                          )     Criminal Action No. 18-cr-218 (TSC)
MARIA BUTINA,                                  )
                                               )
Defendant.                                     )
                                               )

                                             ORDER

       Upon consideration of Defendant’s Corrected Motion to Transfer Defendant Maria

Butina into General Population Housing, ECF No. 59, the court hereby DENIES the motion.1

       Defendant cites no U.S. statute or case law to support her application and has attached no

exhibits, declarations, or affidavits. The motion merely asserts counsel’s understanding, based

on hearsay conversations and speculation, as to why the Defendant has been placed in

administrative segregation. The Supreme Court has held that courts must give deference to

corrections officials when reviewing an inmate’s institutional restriction challenge:

       In determining whether restrictions or conditions are reasonably related to the
       Government's interest in maintaining security and order and operating the institution in a
       manageable fashion, courts must heed our warning that ‘[s]uch considerations are
       peculiarly within the province and professional expertise of corrections officials, and, in
       the absence of substantial evidence in the record to indicate that the officials have
       exaggerated their response to these considerations, courts should ordinarily defer to their
       expert judgment in such matters.’



1
 On November 27, 2018 Defendant filed a Motion to Transfer Defendant Maria Butina into
General Population Housing. ECF No. 57. Subsequently, Defendant filed a Notice of Corrected
Filing Regarding Defendant’s Motion to Transfer Defendant Maria Butina into General
Population Housing, ECF No. 58, and stated that the initial representation that the government
had no position on the motion was based on a misunderstanding, and the government, in fact,
opposed the motion. The corrected motion was filed as ECF No. 59.
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Bell v. Wolfish, 441 U.S. 520, 540 n.23 (1979) (citations omitted) (alteration in original); see also

Rhodes v. Chapman, 452 U.S. 337, 349 n.14 (1981) (“[A] prison’s internal security is peculiarly

a matter normally left to the discretion of prison administrators.”) (citations omitted). Defendant,

through counsel, has not offered “substantial evidence . . . to indicate that the officials have

exaggerated their response,” and, therefore, the court will “defer to their expert judgment” in this

matter. Bell, 441 U.S. at 540 n.23.



       SO ORDERED.



Date: November 28, 2018
                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




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